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AO 442 (Rev. 01/09) Arrest Warrant

 

UNITED STATES DISTRICT COURT

for the

Western District of New York

 

 

United States of America )
v. ) <. @
Lawrence Russell Case No. I: ‘T7CROOOD
Defendant ) :
ARREST WARRANT
To: Any authorized law enforcement officer

 

YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary delay

(name of person to be arrested) Lawrence Russell

 

who is accused of an offense or violation based on the following document filed with the court:

L] Indictment [) Superseding Indictment C] Information C] Superseding Information [J Complaint
CJ Probation Violation Petition [J Supervised Release Violation Petition [4 Violation Notice &] Order of the Court

This offense is briefly described as follows, ae
<eO SIATES DISTAY, RIO

Bail Violation SS see EF EB Ley

 

 

Date: 4 VA / ) Soe 7 <7) A ,

V4 loping offic&'s sign
City and state: Buffalo, New York JEREMIAH J. McCARTHY
UNITED STATES: MAGISTHATEWUDGE

 

 

 

Return

 

 

This warrant was received on (date) G “22- @ 019 _,and the person was arrested on (date) G- “22° 2819 |
at (city and state) fou fefe fPE 4 & vy

 

   

Date: F-22~ BEN

 

ae i Arresting (’ cer's signature

Lari Gt Sonne) Legety LS ate cop

Printed name dhd title

 

Y
